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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

                            CASE NO. 14-20484-CIV-BLOOM/VALLE

  SARAH ALHASSID and SARAH DRENNEN,
  on their own behalf and on behalf
  of all others similar situated,

         Plaintiff,

  vs.

  BANK OF AMERICA, N.A., NATIONSTAR
  MORTGAGE, LLC (d/b/a CHAMPION
  MORTGAGE),

        Defendants.
  ________________________________/


                                FINAL JUDGMENT AND INJUNCTION

         THIS CAUSE is before the Court on a sua sponte review of the record. On September

  11, 2015, this Court entered an Order, ECF No. [252], granting in part and denying in part

  Plaintiff Sarah Alhassid’s (“Plaintiff”) Motion for Summary Judgment as to Counts I, II, III, and

  VI. On November 4, 2015 the Court entered an Order, ECF No. [290], granting in part and

  denying in part Plaintiff’s Partial Motion for Summary Judgment, ECF No. [257], as to Counts I,

  II, III, IV, and V and denying Defendant Nationstar Mortgage, LLC’s (“Defendant”) Motion for

  Summary Judgment, ECF No. [255], as to Counts I, II, III, and V. Pursuant to Federal Rule of

  Civil Procedure 58(a), the Court enters this separate final judgment.

         It is hereby ORDERED AND ADJUDGED that a Final Judgment is hereby entered as

  follows:
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          1. Breach of Contract, Counts I, II, and III

                 a. The Court enters a FINAL JUDGMENT in favor of Plaintiff on Counts I,

                    II, and III of Plaintiff’s Third Amended Complaint, ECF No. [148]; and

                 b. AWARDS Plaintiff actual damages of $5,000.00 in favor of Plaintiff and

                    against Defendant.

          2. Injunctive Relief pursuant to Fla Stat. § 501.211(1), Count V

                 a. The Court enters a FINAL JUDGMENT in favor of Plaintiff on Count V

                    of Plaintiff’s Third Amended Complaint, ECF No. [148].

                 b. As to Plaintiff only, Defendant and its officers, agents, servants,

                    employees and attorneys, and all persons acting in concert and

                    participation with Defendant, from the date of entry of this Court’s Order,

                    ECF No. [290], until the date Plaintiff’s reverse mortgage is extinguished,

                    are hereby PERMANENTLY RESTRAINED AND ENJOINED from:

                        i. providing demonstrably false information to HUD to allow
                           Defendant to declare the loan due and payable; and

                       ii. sending a default letter based on insurance or delinquent taxes until
                           the taxes are actually delinquent under Florida law.

          3. Statutory damages pursuant to Fla Stat. § 501.2105, Count V

                 a. The Court enters a FINAL JUDGMENT in favor of Plaintiff on Count V

                    of Plaintiff’s Third Amended Complaint, ECF No. [148]; and

                 b. AWARDS Plaintiff reasonable attorneys’ fees and costs in favor of

                    Plaintiff and against Defendant pursuant to § 501.2105. This Court shall

                    retain jurisdiction to consider entry of attorneys’ fees and costs.




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             4. Statutory damages pursuant to 15 U.S.C. § 1692, Count VI

                      a. The Court enters a FINAL JUDGMENT in favor of Plaintiff on Count VI

                          of Plaintiff’s Third Amended Complaint, ECF No. [148];

                      b. AWARDS Plaintiff statutory damages of $1,000.00 in favor of Plaintiff

                          and against Defendant pursuant to 15 U.S.C. § 1692k(a)(1)-(2); and

                      c. AWARDS Plaintiff reasonable attorneys’ fees and costs in favor of

                          Plaintiff and against Defendant pursuant to 15 U.S.C. § 1692k(a)(3). This

                          Court shall retain jurisdiction to consider entry of attorneys’ fees and

                          costs.

             5. This judgment shall bear interest at the rate prescribed by 28 U.S.C. § 1961.

             6. The Court shall retain jurisdiction to consider entry of attorneys’ fees and costs,

                  upon the proper submission, and to enforce the terms of the Final Judgment.

             7. The Clerk is directed to CLOSE this case.

          DONE AND ORDERED in Chambers at Miami, Florida, this 16th day of November,

  2015.



                                                          _________________________________
                                                          BETH BLOOM
                                                          UNITED STATES DISTRICT JUDGE
  cc:     counsel of record




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